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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                            CRIMINAL NO. 3:24-cr-00250-S

KEITH J. GRAY

     THE UNITED STATES OF AMERICA’S EXPERT WITNESS DISCLOSURE
           FOR SHAUNA SCHWARM (HULL) AND DR. RAJAT DEO

        The United States of America, by and through the undersigned counsel, files this

expert witness disclosure as Exhibit A, previously provided to defense counsel in this

matter on November 1, 2024, as well as signed disclosures for anticipated witnesses

Shauna Schwarm (Hull) (Exhibit B) and Dr. Rajat Deo (Exhibit C), in accordance with

Federal Rule of Criminal Procedure 16(a)(1)(G) and Federal Rules of Evidence 702, 703,

and 705. The government may choose not to elicit the testimony outlined in this Notice

but provides this information out of abundance of caution and in order to comply with the

applicable rules.

(Continued on the next page.)




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                                                        Respectfully submitted,


                                                        CHAD MEACHAM
                                                        ACTING UNITED STATES ATTORNEY

                                                        GLENN S. LEON
                                                        CHIEF, FRAUD SECTION
                                                        CRIMINAL DIVISION

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